                            Case 20-30190-KKS               Doc 14        Filed 04/08/20          Page 1 of 2
                                               United States Bankruptcy Court
                                               Northern District of Florida
In re:                                                                                                     Case No. 20-30190-KKS
Jon Christopher Stephens                                                                                   Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1129-3                  User: tboswell                     Page 1 of 1                          Date Rcvd: Apr 06, 2020
                                      Form ID: ntrsc341                  Total Noticed: 17


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Apr 08, 2020.
db            #+Jon Christopher Stephens,    6740 Data Street,    Pensacola, FL 32504-7206
2335502        +Alison Stephens,   4884 Timber Ridge Drive,     Pace, FL 32571-8002
2335503        +Ally,   1000 Aberathy Road,    Atlanta, GA 30328-5606
2335505        +Citibank/The Home Depot,    Attn: Recovery/Centralized Bankruptcy,    Po Box 790034,
                 St Louis, MO 63179-0034
2335508        +Pennymac Loan Services,    Correspondence Unit/Bankruptcy,    Po Box 514387,
                 Los Angeles, CA 90051-4387
2335509         Pennymac Loan Services, LLC.,    P. O. Box 30597,    Los Angeles, CA 90030-0597
2335510        +Sywmc/cbna,   Po Box 6217,    Sioux Falls, SD 57117-6217
2335511        +Team Sandy Blanton Realty,    1225 W Gregory Street,    Pensacola, FL 32502-3721
2335512        +USAA,   3220 Burris Drive,    Nolenville, TN 37135-1219
2335513        +USAA Federal Savings Bank,    Attn: Bankruptcy,    10750 Mcdermott Freeway,
                 San Antonio, TX 78288-1600

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: kgarvin@kgarvinlaw.com Apr 07 2020 06:41:41       Karin A. Garvin,
                 Karin A. Garvin, P.L.,    1801 W. Garden Street,    Pensacola, FL 32502
tr             +E-mail/Text: mary.colon@txitrustee.com Apr 07 2020 06:42:04       Mary W. Colon,    P.O. Box 14596,
                 Tallahassee, FL 32317-4596
ust            +E-mail/Text: ustpregion21.TL.ecf@usdoj.gov Apr 07 2020 06:42:52        United States Trustee,
                 110 E. Park Avenue,    Suite 128,   Tallahassee, FL 32301-7728
2335504        +E-mail/Text: ally@ebn.phinsolutions.com Apr 07 2020 06:42:11       Ally Financial,
                 Attn: Bankruptcy Dept,    Po Box 380901,    Bloomington, MN 55438-0901
2335501         E-mail/Text: BankruptcyNotices@aafes.com Apr 07 2020 06:42:21        AAFES Military Star,
                 Attn: Bankruptcy,   Po Box 650060,     Dallas, TX 75265
2335506        +E-mail/Text: ext_ebn_inbox@navyfederal.org Apr 07 2020 06:43:40        Navy FCU,
                 Attn: Bankruptcy Dept,    Po Box 3000,    Merrifield, VA 22119-3000
2335507        +E-mail/Text: ext_ebn_inbox@navyfederal.org Apr 07 2020 06:43:40        Navy Federal Credit Union,
                 Attn: Bankruptcy,   Po Box 3000,    Merrifield, VA 22119-3000
                                                                                               TOTAL: 7

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Apr 08, 2020                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on April 6, 2020 at the address(es) listed below:
              Karin A. Garvin   on behalf of Debtor Jon Christopher Stephens kgarvin@kgarvinlaw.com,
               rrichter@kgarvinlaw.com;rwaid@kgarvinlaw.com
              Mary W. Colon   trustee@marycolon.com, fl33@ecfcbis.com;ecf.alert+Colon@titlexi.com
              United States Trustee   USTPRegion21.TL.ECF@usdoj.gov
                                                                                            TOTAL: 3
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FORM ntrsc341
                                   UNITED STATES BANKRUPTCY COURT
                                          Northern District of Florida
                                              Pensacola Division

In Re: Jon Christopher Stephens                                    Bankruptcy Case No.: 20−30190−KKS
       SSN/ITIN: xxx−xx−0954
        Debtor
                                                                   Chapter: 7
                                                                   Judge: Karen K. Specie


                          NOTICE OF RESCHEDULED MEETING OF CREDITORS
                              TO BE HELD BY TELEPHONE CONFERENCE

   You are hereby notified that the Meeting of Creditors has been rescheduled to April 28, 2020 at 08:00 AM,
Central Time. Meeting will be telephonic. Dial (866) 832−5204 and enter participation code 3014948 when
prompted.

     At least seven (7) days prior to the meeting, the debtor(s) must provide the trustee with a photocopy of 1) the
most recently filed federal income tax return or a transcript thereof; 2) government−issued photo ID; and 3) evidence
of a Social Security Number. Contact the trustee to obtain instructions for submitting these materials. The trustee
assigned to this case is:

                Mary W. Colon
                P.O. Box 14596
                Tallahassee, FL 32317
                850−241−0144
                trustee@marycolon.com

Dated: April 6, 2020                                       FOR THE COURT
                                                           Traci E. Abrams, Clerk of Court
                                                           110 E. Park Ave., Ste. 100
                                                           Tallahassee, FL 32301


SERVICE: Service by the Court pursuant to applicable Rules.
